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June 14, 2021

VIA ECF

Honorable Trevor N. McFadden
United States District Judge
United States District Court for the
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

                Re:    United States v. Keith Berman
                       1:20-CR-00278 TNM

Dear Judge McFadden:

       I respectfully submit this letter motion seeking relief from the Court on account of the
Government having subpoenaed the law firm office and mobile telephone records of defense
counsel Ronald S. Herzog.

        The relevant facts known to the defense are as follows. By letter dated May 28, 2021, the
Government disclosed certain discovery materials to defense counsel. As has been the custom,
the discovery was transmitted via a compact memory device with a cover letter containing brief
descriptions of the categories of the materials stored on the device along with the Bates numbers
for each category. The May 28 letter described one category of the discovery as: “Subpoena re-
turn from Verizon containing subscriber and call detail records for numbers X5149 and
X7843.” (Bates 053774-053400). The first number (5149) is the last four digits of Mr. Herzog’s
direct dial office telephone number; the second (7483) is the last four digits of his mobile phone.
Both numbers appear on his email signature block.

        On June 7, 2021, I wrote Messrs. Weitz and Fenton asking for an explanation of the deci-
sion to subpoena the telephone records of an attorney representing the defendant the Government
is prosecuting, making the point that in the absence of any apparent legitimate purpose this ap-
peared to be an unjustified intrusion into confidential and presumptively privileged communica-
tions between an attorney and his law firm’s clients— one of whom is Mr. Berman. Having sent
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my letter by email on Monday June 7 at 10:30 AM, I asked for a response from the Government
by the end of the week, Friday June 11 so that, if need be, we could raise this matter promptly
with the Court. (Ex. A).

        The Government’s response, consisting of five sentences, arrived Sunday morning, June
13, and made three points. (Ex B) First, it referred to the Government's “ongoing investigation in
this matter.” Second, it “decline[d]…to explain its motivations for steps taken in a grand jury in-
vestigation.” Third, it assured that the Government “was mindful” of its obligations when it ob-
tained “potentially privileged communications in the course of a criminal investigation,” as evi-
denced by the “Fraud Section’s Special Matters Unit” being assigned to this matter. Presumably
this will require determining which of Mr. Herzog’s telephone records include communications
with a client of his law firm and which of these contain privileged communications—surely the
vast majority if not all—and filtering those out to protect privileged communications from
wrongful disclosure and to prevent tainting the prosecution team with evidence it cannot validly
use. (We are not familiar with something called the Fraud Section “Special Matters Unit,” but
have communicated with a Trial Attorney in the Fraud Section who describes himself as the “Fil-
ter Attorney.”)

        The Government’s response raises the question of what “grand jury investigation in this
matter” is being conducted on an “ongoing” basis. The Government first obtained an Indictment
from the grand jury six months ago, in December 2020. It then asked the grand jury to add two
additional charges in a Superseding Indictment over a month ago, on May 11, 2021. Justice De-
partment Guideline 9-11-120 counsels against the post-indictment use of the grand jury, stating:
“The grand jury’s power…is limited to its function toward a possible return of an indictment.”
Costello v. United States, 350 U.S. 359, 362 (1957). The Guideline further states that the “grand
jury cannot be used to obtain additional evidence against a defendant who has already been in-
dicted.” United States v. Woods, 544 F.2d 242, 250 (2d Cir. 1976). “After indictment the grand
jury may be used if its investigation is related to a superseding indictment of additional defen-
dants or additional crimes of an indicted defendant.” In re Grand Jury Subpoena Duces Tecum
Dated January 2,1985, 767 F.2d 26, 29-30 (2d Cir. 1985); In re Grand Jury Proceedings, 586 F.
2d 724 (9th Cir. 1978). Because we are in the dark about this matter, we neither know the date
the subpoena was issued nor whether the “ongoing” grand jury investigation “in this matter” is
consistent with or in violation of the relevant DOJ Guideline.

       While the Government has acknowledged its obligations with respect to potentially privi-
leged communications it obtains by subpoena, its curt and opaque response begs the question of
why Mr. Herzog’s telephone records were subpoenaed in the first place. This is not a circum-
stance where a broad subpoena for Mr. Berman’s emails inadvertently swept into the production
some attorney-client communications with Mr. Herzog. Instead, this subpoena specifically tar-
geted Mr. Herzog’s telephone records.

         A final point deserves mention. One cannot help but consider, in light of the Government
having previously argued that Mr. Herzog’s representation of Mr. Berman was burdened by con-
flicts of interest, whether the subpoena might have had the aim of creating a personal interest of

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Mr. Herzog’s that could be seen as adversely affecting his representation of Mr. Berman. It is dif-
ficult to imagine that Government counsel would engage in conduct so unworthy of the Depart-
ment of Justice. But the Government’s refusal to offer any basis for the aggressive tactic of sub-
poenaing an adversary’s telephone records, combined with its very energetic claims of conflicts
of interest relating to the very same adversary, causes one to engage in such suppositions which I
would be glad to be shown are untrue.

        The defense requests the following as relief in this matter. First, we ask the Court to re-
quire Government counsel to make an in camera showing setting forth its rationale for issuing a
subpoena for Mr. Herzog’s telephone records. Second, in the event the Government does not
provide a satisfactory explanation, we request an Order from the Court requiring the immediate
return of any and all evidence in the Government’s possession that contains records of Mr. Her-
zog’s communications with Mr. Berman or any other client of his law firm. Third, we ask the
Court to inquire of the Government whether it is indeed conducting an “ongoing” grand jury in-
vestigation in connection with the prosecution of Mr. Berman, and if so, whether any such activi-
ty is consistent with DOJ Guideline 9-11-120 regarding the post-indictment period and whether
this could require a further adjournment of the trial date of September 20, 2021.

                                                     Respectfully submitted,


                                                      /s/ Walter P. Loughlin
                                                     _______________________
                                                     Walter P. Loughlin
                                                     Counsel for Defendant Keith Berman


cc: Ronald S. Herzog, Esq.




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